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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                    NO. 4:13CR00167-02 JLH

DANIEL GLENN CAPLE                                                                  DEFENDANT

                                             ORDER

       Defendant Daniel Glenn Caple was previously designated to the Federal Detention Center

in Seattle, Washington, for a psychiatric evaluation. The Warden of the facility has requested an

extension of time in which to conduct the evaluation and submit the report to the Court. Without

objection, the request is granted. The defendant’s psychiatric evaluation must be completed no later

than May 16, 2014, with the report being sent to the Court and counsel on or before May 30, 2014.

The excess time shall be excludable under the provisions of the Speedy Trial Act.

       IT IS SO ORDERED this 7th day of April, 2014.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
